Case 2:13-cr-00096-WHW   Document 41   Filed 10/08/13   Page 1 of 5 PageID: 127




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               Hon. William H. Walls

          V.                   :       Crim. No. 13-096

LINDA YARLEQUE and                     ORDER FOR CONTINUANCE
FABIO MORENO VARGAS



          This matter having come before the Court on the application
S
of defendant Linda Yarlegue (Peter, Esq., appearing) and

defendant Fabio Moreno Vargas (Carol Gillen, Assistant Federal

Public Defender, appearing), with the consent of Paul J. Fishman,

United States Attorney for the District of New Jersey (J. Jamari

Buxton and Rachael A. Honig, Assistant U.S. Attorneys, appearing)

for an order granting a continuance of the proceedings in. the

above captioned matter, and the defendants being aware that they have
     -




the right to have the matter brought to trial within 70 days of the

date of their appearances before a judicial officer of this court

pursuant to Title 18, United States Code, Section 3161(c) (1), and

the defendants having consented to such a continuance, and it

appearing that the defendants waive such right, and for good and

sufficient cause shown,

          IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:
Case 2:13-cr-00096-WHW          Document 41   Filed 10/08/13   Page 2 of 5 PageID: 128




              (1)    The discovery in this case involves a large quantity

of financial records that defense counsel requires additional time

to review;

              (2)    Taking into account the exercise of diligence,

therefore,    the facts of this case require that defense counsel be

permitted a reasonable amount of additional time for effective

preparation in this matter;

             (3) Defense counsel has requested additional time in order

to adequately prepare pretrial motions in this matter;

             (4)    As a result of the foregoing,         pursuant to Title 18,

United States Code, Section 3161(h) (7),             the ends of justice served

by granting the continuance outweigh the best interest of the public

and the defendant in a speedy trial.

             IT IS,     therefore,    on this           day of October,      2013,

             ORDERED that this action be, and hereby is, continued; and

it is further

             ORDERED that the trial in this matter shall be scheduled

for November 12,        2013;    and it is further

             ORDERED that pretrial motions shall be filed no later than

October 16,     2013;    and it is further
Case 2:13-cr-00096-WHW   Document 41    Filed 10/08/13     Page 3 of 5 PageID: 129




           ORDERED that the period of time from the date of this order

through November 12, 2013 shall be excludable in computing time under

the Speedy Trial Act of 1974.




                                                            WALLS
                                       United S          s District Judge




Form and entry
consented to:




Rac ael A. Honig
Assistant U.S. Attorney




Peter Willis, Esq.
Counsel for defendant Linda Yarleque




Carol Gillen
Assistant Federal Public Defender
Counsel for defendant Fabio Moreno Vargas
                                                                                      Jv
Case 2:13-cr-00096-WHW    Document 41      Filed 10/08/13   Page 4 of 5 PageID: 130




                ORDERED that the period of time from te date of this

    order through November 12, 2013 shall be excludable in computing

    time iinder the Speedy Trial Act of 1974W




                                        HON. WILLIAM H. WALLS
                                        United States District Judge



    Form and entry
    consented to:



    Rachael P. Hanig
    Assistant tLS. Attorney




    Peter W us, Esq.
    Counsel for cIefen,ant Lind.a YarLeque




    Caiol
            Gillen   -—




    Assistant Federal Public Defender
    Counsel for defendant Fabic Moreno Varas




                                    -3--
                         it      0
0 CD           o CD
0 CD i         CD   it   o       c.
z it a         CD   CD
CD CD          CD                H
CDit           CD
itCD
     a it                        it
it it     -4             CD      H
o         it             H       0
H       CD                               C)
     CD CD               it      C)      DY
                                 it      DY
00                                       it
it                                       it
C) CD          CD CD     it              in
CD it                    it      CD      it
                                               Case 2:13-cr-00096-WHW




                         CD      CD
                         CD      O       it
                         it      DY      it
                         L       CD      Di
     it                          H       it
 it            -4

00                               -4      ii,
                         it      CD)
it CD          C         CD      -       CD
  H)                             CD)     it
cD                           0   C)       CD
00             CD        0       it       H
               H         it      0)       it
                                               Document 41




(DCD           it
OH             CD        0       CD
0                        bt)     DY
                                 CD      0
               CD        it      it      H)
                         C)      it

                                 to
                                 CD

                                 CD
                                 DC      H)
                                         H
                                         0
                                               Filed 10/08/13




                                         DC
                                 it
                                 Di      it
                                 DY      it
                                         CD
                                     D
                                         it
                                 it      CD
                                 a       it
                                         CD
                                 C,
                                 0       0
                                         H)
                                 C       it

                                         CD
                                 OD
                                               Page 5 of 5 PageID: 131
